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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION

JAMES DEAN UNDERHILE                                                                    PLAINTIFF

               v.              Civil No. 3:22-cv-03037-TLB-MEF

SHERIFF JIM ROSS,
Carroll County, Arkansas;
ADMINISTRATOR JAMES LOOKINGBILL;
JOHN OR JANE DOE, Assistant Administrator;
and JOHN OR JANE DOE NURSE                                                         DEFENDANTS

         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

      Plaintiff, James D. Underhile, filed this action pursuant to 42 U.S.C. § 1983. He proceeds

pro se and in forma pauperis (“IFP”). Plaintiff was incarcerated in the Boone County Detention

Center (“BCDC”) when he filed his Complaint (ECF No. 1).

       Pursuant to the provisions of 28 U.S.C. §§ 636(b)(1) and (3), the Honorable Timothy L.

Brooks, United States District Judge, referred this case to the undersigned for the purpose of

making a Report and Recommendation. The case is before the Court on the Plaintiff’s failure to

obey an Order of the Court.

                                      I.      DISCUSSION

      When he filed this case, Plaintiff was specifically advised (ECF No. 3) that he was required

to immediately inform the Court of any change of address. Plaintiff was told that he must advise

the Court of any change in his address no later than thirty (30) days from the time of his transfer

to another facility or his release. Additionally, Rule 5.5(c)(2) of the Local Rules for the Eastern

and Western Districts of Arkansas requires pro se parties to “promptly notify the Clerk and other

parties to the proceedings of any change in his or her address, to monitor the progress of the case,


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and to prosecute or defend the action diligently.”

      On July 18, 2022, mail was returned to the Court (ECF No. 6) as undeliverable with the

notation that Plaintiff was no longer in the BCDC. The returned mail included Plaintiff’s copy

of the Complaint and IFP application, the Order granting IFP status, and the Order directing

collection of the filing fee. Plaintiff had 30 days to advise the Court of his new address. The

new address was to be provided to the Court by August 17, 2022.

      To date, Plaintiff has not provided a new address or contacted the Court in anyway. In

fact, the last thing filed by the Plaintiff in this case was his Complaint and IFP application that

were filed on June 30, 2022.

                                     II.     CONCLUSION

       For this reason, pursuant to Rule 41(b) of the Federal Rules of Civil Procedure and Rule

5.5(c)(2) of the Local Rules for the Eastern and Western Districts of Arkansas, it is recommended

that this case be DISMISSED WITHOUT PREJUDICE.

       The parties have fourteen (14) days from receipt of the Report and Recommendation

in which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file

timely objections may result in waiver of the right to appeal questions of fact. The parties

are reminded that objections must be both timely and specific to trigger de novo review by

the district court.

       DATED this 23rd day of August 2022.

                                                        /s/ Mark E. Ford
                                                        HON. MARK E. FORD
                                                        UNITED STATES MAGISTRATE JUDGE



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